Case 3:18-cv-00802-BEN-JLB Document 107 Filed 01/31/24 PageID.3460 Page 1 of 3



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      official capacity as California Attorney
 10   General
 11                    IN THE UNITED STATES DISTRICT COURT
 12                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 13                                   CIVIL DIVISION
 14
 15   KIM RHODE et al.,                            Case No. 3:18-cv-00802-BEN-JLB
 16                                 Plaintiffs, RENEWED REQUEST FOR STAY
                                                OF DISTRICT COURT’S
 17               v.                            JANUARY 30, 2024 DECISION
 18                                                Judge:        Hon. Roger T. Benitez
      ROB BONTA, in his official capacity          Action Filed: April 26, 2018
 19   as Attorney General of the State of
      California,
 20
                                  Defendant.
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                               Defendant’s Renewed Request for Stay (3:18-cv-00802-BEN-JLB)
Case 3:18-cv-00802-BEN-JLB Document 107 Filed 01/31/24 PageID.3461 Page 2 of 3



  1        Defendant Rob Bonta, in his official capacity as Attorney General of the State
  2   of California, requests that the Court stay the Decision dated January 30, 20241
  3   enjoining implementation or enforcement of the ammunition sales background
  4   check provisions found in California Penal Code §§ 30352 and 30370(a) through
  5   (e); the ammunition anti-importation provisions found in §§ 30312(a) and (b) and
  6   30314(a); and the criminal enforcement of California Penal Code §§ 30312(d),
  7   30314(c), and 30365(a) (“Decision”) pending appeal. ECF No. 105. If the Court is
  8   not inclined to grant a stay of the Decision pending appeal, the Attorney General
  9   requests a brief administrative stay of ten days, to seek relief from the Ninth Circuit
 10   Court of Appeals. See, e.g., Miller v. Bonta, Case No. 3:19-cv-01537-BEN-JLB,
 11   ECF No. 175 (Decision at 78); Duncan v. Bonta, Case No. 3:17-cv-01017-BEN-
 12   JLB, ECF No. 149 (Decision at 70–71). The Attorney General requests a ruling on
 13   this request by no later than 2 p.m. today, January 31, 2024.
 14        The Attorney General previously requested that the Court enter a stay pending
 15   appeal if it enjoined the ammunition laws in whole or in part. ECF No. 81 at 25
 16   n.16; ECF No. 86 at 10 n.15. Although the Court granted (in part) the Attorney
 17   General’s requests in its final orders in other recent cases involving Second
 18   Amendment challenges to California’s public safety laws, see Miller and Duncan,
 19   supra, the Decision here makes no reference to the stay requests in this case.
 20        Just as in Miller and Duncan, a stay pending appeal—and at a minimum a
 21   brief stay to seek relief from the Court of Appeals—is warranted in this case. If the
 22   Decision is allowed to stay in effect, it would irrevocably alter the status quo by
 23   enjoining enforcement of laws that have been in effect for over four years; allowing
 24   prohibited California residents to acquire ammunition during the appeal; and
 25   jeopardizing public safety. And, if the challenged provisions of the ammunition
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 27           Although the Decision is dated January 30, 2024, it was not served on the
      parties via the CM/ECF system until 8:26 am today, January 31. The Attorney
 28   General promptly prepared this request upon service.
                                                 2
                                 Defendant’s Renewed Request for Stay (3:18-cv-00802-BEN-JLB)
Case 3:18-cv-00802-BEN-JLB Document 107 Filed 01/31/24 PageID.3462 Page 3 of 3



  1   laws are later upheld, it would be difficult for the State to reverse those
  2   transactions, identify prohibited persons who purchased ammunition during the
  3   appeal in violation of the ammunition laws, and restore the status quo.
  4        At an absolute minimum, if the Court is not inclined to stay the Decision
  5   pending appeal, the Attorney General requests an interim ten-day stay, just as the
  6   Court granted in Miller and Duncan, to seek relief from the Ninth Circuit Court of
  7   Appeals.
  8   Dated: January 31, 2024                        Respectfully submitted,
  9                                                  ROB BONTA
                                                     Attorney General of California
 10                                                  P. PATTY LI
                                                     Supervising Deputy Attorney General
 11                                                  JOHN D. ECHEVERRIA
                                                     Deputy Attorney General
 12
 13
                                                     s/ Christina R.B. López
 14
                                                     CHRISTINA R.B. LÓPEZ
 15                                                  Deputy Attorney General
                                                     Attorneys for Defendant Rob Bonta,
 16                                                  in his official capacity as California
                                                     Attorney General
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                                 Defendant’s Renewed Request for Stay (3:18-cv-00802-BEN-JLB)
